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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,


                                                          DECISION AND ORDER
              v.                                               99-CR-131A

MOHAMED ABUHAMRA,
AREF AHMED,
RMZY ABDULLAH,
NAGIB AZIZ, and
AZZEAZ SALEH,

                                   Defendants.




                                     INTRODUCTION

              On March 3, 2004, defendants Mohamed Abuhamra, Aref Ahmed, Rmzy

Abdullah, Nagib Aziz and Azzeaz Saleh were found guilty following a jury trial of

conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h), and

substantive violations of the Contraband Cigarette Trafficking Act, 18 U.S.C. § 2342(a).

Currently before the Court are: (1) defendants' objections to the amount of loss

determinations in their respective Presentence Investigation Reports (“PSR”); (2) the

government’s request for a two-level upward adjustment for use of a minor by

defendant Mohamed Abuhamra; and (3) the government's motions for upward

departures regarding defendants Nagib Aziz and Azzeaz Saleh, based on their alleged

participation in a robbery of another cigarette smuggler. A sentencing hearing was held

on February 9 and May 4, 2005.
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                                         BACKGROUND

              From February 1995 to January 1997, defendants, along with 27 other co-

defendants, participated in a scheme whereby they bought large quantities of untaxed

cigarettes from a smokeshop located on the reservation of the Seneca Nation of

Indians, and then transported and sold such cigarettes in New York and/or Michigan,

without collecting or paying any state excise taxes. At least some of the proceeds from

the sale of the cigarettes were used to buy additional cigarettes to perpetuate the

scheme.

              The defendants would usually order the cigarettes in advance from the

smokeshop, which was owned and operated by witness Linda Mohawk (“Mohawk”).

Once Mohawk received an order from a defendant, she would, in turn, relay the order to

her cigarette wholesaler, defendant A.D. Bedell Company (“A.D. Bedell”). On each

such order to A.D. Bedell, Mohawk would indicate a “code name” for the particular

defendant making the order. For example, Mohawk testified that the code name for

defendant Aref Ahmed was “AT.” Once A.D. Bedell received an order from Mohawk, it

would prepare an invoice for that order, charging a special account set up by Mohawk

for this smuggling activity and indicating the code name of the particular defendant

making the order. Thus, an A.D. Bedell invoice for an order by Aref Ahmed would have

indicated that the order was for “AT.”

              According to the PSR, if all the cigarettes for which there are invoices

would have been sold in New York, the total amount of tax loss to New York would have

been $12,750,645. Likewise, if all the cigarettes had been sold in Michigan, the total tax



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loss to Michigan would have been $17,760,758. There is no evidence of exactly how

many cigarettes were sold in New York as opposed to Michigan.




                                        DISCUSSION

A.      Amount of Loss

               Section 1B1.3 of the United States Sentencing Guidelines (“U.S.S.G.”)

provides that when determining the amount of relevant conduct for which a defendant is

to be held accountable, the sentencing court should include:

        in the case of jointly undertaken criminal activity (a criminal plan, scheme,
        endeavor, or enterprise undertaken by the defendant in concert with
        others, whether or not charged as a conspiracy), all reasonably
        foreseeable acts and omissions of others in furtherance of the jointly
        undertaken criminal activity, that occurred during the commission of the
        offense of conviction, in preparation for that offense, or in the course of
        attempting to avoid detection or responsibility for that offense[.]

See U.S.S.G. § 1B1.3(a)(1)(B). Application Note 2(c) of § 1B1.3 provides several

examples to assist courts in determining whether a defendant should be held

accountable for jointly undertaken criminal activity. Both the government and the

defendants agree that the most relevant example with regard to this case is Application

Note 2(c)(6), which provides as follows:

        Defendant P is a street-level drug dealer who knows of other street-level
        drug dealers in the same geographic area who sell the same type of drug
        as he sells. Defendant P and the other dealers share a common source of
        supply, but otherwise operate independently. Defendant P is not
        accountable for the quantities of drugs sold by the other street-level drug
        dealers because he is not engaged in a jointly undertaken criminal activity
        with them. In contrast, Defendant Q, another street-level drug dealer,
        pools his resources and profits with four other street-level drug dealers.
        Defendant Q is engaged in a jointly undertaken criminal activity and,
        therefore, he is accountable under subsection (a)(1)(B) for the quantities


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       of drugs sold by the four other dealers during the course of his joint
       undertaking with them because those sales were in furtherance of the
       jointly undertaken criminal activity and reasonably foreseeable in
       connection with that criminal activity.


              The government contends that the defendants in this case are “Q's” rather

than “P’s,” and therefore each of them should be held accountable for the entire amount

of tax loss resulting from the conspiracy because all such losses were in furtherance of

the jointly undertaken criminal activity and reasonably foreseeable in connection with

that criminal activity. The government argues that the defendants should be considered

“Q's” because they employed common drivers to transport the cigarettes (in some

instances, they even used each other as drivers). According to the government, such

pooling of resources makes defendants “Q's” rather than “P's.” The government’s

theory results in a New York tax loss of $12, 740,645 and a Michigan tax loss of

$17,760,758, with a corresponding base offense level of 26 for each defendant. See

U.S.S.G. §§ 2S1.1(a)(1), 2E4.1(a)(2), 2T4.1(K). As stated above, these tax loss

amounts were derived from totaling all the A.D. Bedell invoices for the cigarette orders

that were part of the scheme and calculating the tax owing thereon.

              In the alternative, the government argues that even if the defendants were

considered to be “P’s” rather than “Q’s,” the base offense level for each defendant

would still be 26. The government arrives at this conclusion based on evidence

regarding how frequently each defendant picked up cigarettes at the smoke shop and

how large their loads usually were, along with evidence regarding the invoices from

A.D. Bedell. See Item No. 1101. According to the government, when the amount of

trips each defendant made to the smokeshop is multiplied by the average load, the total

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tax loss caused by each defendant is in excess of $2.5 million, which under U.S.S.G. §§

2S1.1(a)(2) and 2B1.1(b)(1)(J), the government argues, results in a base offense level

of 26.1

               Contrary to the government, the defendants contend that they should be

considered “P's” rather than “Q's.” Defendants argue that although they may have had

a common source of supply, i.e., A.D. Bedell and the smokeshop, there is no evidence

that they participated in jointly undertaken criminal activity. They each operated their

own businesses independently of their codefendants. There is no evidence that they

received any type of benefit from or had any responsibility for any of the businesses or

activities of their codefendants. Perhaps most importantly, there is no evidence that

they pooled their profits or had any financial interest in each other’s businesses. Thus,

defendants argue, they should each be held accountable only for the amount of tax loss

for which the government can prove they were each personally responsible.

               Defendants further argue that the government has failed to prove any

specific tax loss amounts by a preponderance of the evidence. They argue that the

government relies almost exclusively on the testimony of Linda Mohawk, who is not a

credible witness. For example, defendants argue, Mohawk testified at trial that the code

name “AT” belonged to defendant Aref Ahmed, yet before the grand jury, she testified

that the code name “AT” belonged to someone else. Defendants also point out that

while Mohawk testified at trial that the defendants came to the smoke shop hundreds of

times over the period of the conspiracy, they appear on relatively few of the


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               It is not clear to the Court why the government is applying U.S.S.G. §§
2S1.1(a)(2) and 2B1.1(a)(1) rather than U.S.S.G. §§ 2S1.1(a)(1), 2E4.1(a)(2) and 2T4.1.

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approximately 400 in-store video surveillance tapes she provided to the government.

Thus, defendants argue, because the government has failed to prove by a

preponderance of the evidence any specific tax loss amounts attributable directly to

each defendant, the Court must apply the minimum base offense level of 9 for each of

them. See U.S.S.G. §§ 2S1.1(a)(1) and 2E4.1(a)(1).

              In the alternative, at least some of the defendants argue that the most tax

loss they should each be held accountable for is the amount traceable directly to each

of them through the code names used on the A.D. Bedell invoices. This would result in

a different base offense level for each defendant, each of which would be substantially

lower than the base offense level of 26 proposed by the government.

              The Court finds that the defendants should be considered “P’s” rather than

“Q’s.” In United States v. Studley, 47 F.3d 569, 575 (2d Cir. 1995), the Second Circuit,

in discussing the example in Application Note 2(c)(6) to § 1B1.3, stated as follows:

       This illustration demonstrates, first, that a defendant's knowledge of
       another participant's criminal acts is not enough to hold the defendant
       responsible for those acts. It also demonstrates that a relevant factor in
       determining whether activity is jointly undertaken is whether the
       participants pool their profits and resources, or whether they work
       independently. P's success was not dependant upon the other dealers in
       the area, whereas Q's success was directly tied to the activities of the
       other dealers.

              Here, the evidence adduced at trial and at the hearing supports the

conclusion that each defendant’s agreement to participate in the cigarette smuggling

scheme was limited to his own smuggling activity and did not encompass the smuggling

activity of the other smugglers. Each defendant operated independently, with the

objective of making as much money as possible for himself. There was no pooling or


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sharing of profits. The success of a particular defendant was not dependent on the

other smugglers. The defendants had no interest in the success of the operation as a

whole, and took no steps to further the operation beyond smuggling their own loads of

cigarettes.

               The defendants certainly knew of the criminal acts of the other smugglers,

but that by itself is not sufficient to hold them accountable for those acts. Although there

was some evidence that they sometimes employed common drivers to haul their loads,

there is no evidence that they shared the profits with those drivers or with anyone else,

or that they shared the costs with each other.2

               Because the defendants are “P’s” rather than “Q’s,” they are only

accountable for the tax loss amounts that they personally participated in or caused.

               The Court rejects the tax loss calculations for individual defendants

proffered by the government that are based on the number of trips to the smokeshop by

each defendant multiplied by the average load. Linda Mohawk was, for the most part, a

credible witness. However, her testimony regarding the number of smuggling trips

made by the defendants appears to have been somewhat exaggerated. W hile she

testified that the defendants made hundreds of trips to the smokeshop, they appeared

on relatively few of the surveillance tapes. In addition, the Court finds these calculations

questionable because they result in a tax loss significantly greater than the amount of

tax loss calculated using the A.D. Bedell invoices (and that amount was attributable to

all 32 defendants in this case, not just the five who went to trial).



       2
               It appeared for the most part that the defendants drove their own loads.

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              The Court also rejects defendants position that the government has failed

to prove any specific tax loss amounts by a preponderance of the evidence. As stated,

the Court finds Linda Mohawk to be a credible witness. Specifically, the Court finds her

testimony regarding the code names used on the A.D. Bedell invoices to be credible.

Accordingly, in determining the amount of tax loss for which each defendant should be

held accountable, the Court shall rely on the coded invoices. Forensic Auditor Jeffrey

Cosgrove of the Bureau of Alcohol, Tobacco, Firearms and Explosives testified at the

hearing that the excise tax losses attributable to coded invoices linked to the individual

defendants were as follows:




              Defendant                    N.Y. Loss             Mich. Loss

              Mohamed Abuhamra             $288,597              $386,512

              Aref Ahmed                   $273,890              $366,817

              Rmzy Abdullah                $ 33,359              $ 44,677

              Nagib Aziz                   $ 10,780              $ 14,437

              Azzeaz Saleh                 $ 6,815               $ 9,127




              The Court will use the New York tax loss amounts because they are

smaller and therefore provide a more conservative estimate of the loss amounts.

Pursuant to U.S.S.G. §§ 2S1.1(a)(1), 2E4.1(a)(2) and 2T4.1, the resulting base offense

level for each of the defendants is as follows:




              Defendant                    Base Offense Level

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               Mohamed Abuhamra                        18

               Aref Ahmed                              18

               Rmzy Abdullah                           14

               Nagib Aziz                              10

               Azzeaz Saleh                            10




               The Court shall apply these base offense levels, along with the specific

offense characteristics detailed in each defendant’s PSR, at the time of sentencing.3




B.      Use of a Minor by Defendant Mohamed Abuhamra

               W ith regard to defendant Mohamed Abuhamra, the government requests

that the Court apply a two-level upward adjustment pursuant to U.S.S.G. § 3B1.4,

because he used a person less than eighteen years of age to commit the offense. The

Court shall apply such an adjustment. A videotape admitted into evidence at trial

showed a young boy accompanying defendant Abuhamra, taking direction from him

and assisting him in gathering and loading cigarettes.




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                Defendants argue that the Sixth Amendment of the United States Constitution
precludes the Court from increasing their sentences above the minimum base offense level
based on any fact not found by the jury as part of its verdict. Here, the jury did not determine the
amount of loss. Thus, defendants argue, the Court is precluded from determining the amount of
loss and must apply the minimum base offense level under the U.S.S.G. Defendants further
argue that even though the United States Supreme Court recently held in United States v.
Booker, 125 S. Ct. 738 (2005), that the U.S.S.G. are only advisory and therefore do not violate
the Sixth Amendment, application of the Booker decision here would violate the ex post facto
clause of the Constitution. This same argument was raised and rejected by the Eleventh Circuit
in United States v. Duncan, 400 F.3d 1297, 1306-07 (11 th Cir. 2005). This Court adopts the
reasoning and result in Duncan, and finds defendant’s ex post facto argument without merit.

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C.       Government’s Motions for Upward Departure

                    The government has moved for upward departures, pursuant to

U.S.S.G. § 5K2.21, against defendants Nagib Aziz and Azzeaz Saleh based on their

alleged participation in a robbery of another cigarette smuggler.4 After considering the

evidence adduced at the sentencing hearing, the Court grants the government’s motion

for upward departure with regard to defendant Nagib Aziz, but denies it as to Azzeaz

Saleh.

               The evidence adduced at the hearing showed by a preponderance of the

evidence that defendant Nagib Aziz, along with others, participated in the carjacking,

robbery and beating of another smuggler, Menal Mikha, on or about March 31, 1997.

Defendant Aziz and the other robbery participants took from Mikha over $10,000 in

cash and $28,000 in contraband cigarettes. They also took Mikha’s van, physically

restrained him and caused him bodily injury.

               Drawing an analogy to Hobbs Act robbery, 18 U.S.C. § 1951, the Court

shall depart upward seven levels: two levels for causing Mikha bodily injury, see

U.S.S.G. § 2B3.1((b)(3)(A); two levels for physically restraining Mikha to facilitate

commission of the offense, see 2B3.1((b)(4)(B); two levels because the offense

involved carjacking, see U.S.S.G. § 2B3.1(b)(5); and one level because the amount of

loss exceeded $10,000, see U.S.S.G. § 2B3.1(b)(7)(B).

               Although a close question, the Court finds that the government failed to



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                U.S.S.G. § 5K2.21 provides that “[t]he court may increase the sentence above the
guideline range to reflect the actual seriousness of the offense based on conduct . . . that did not
enter into the determination of the applicable guideline range.”

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prove by a preponderance of the evidence defendant Azzeaz Saleh’s involvement in

the robbery. W hile there is circumstantial evidence linking defendant Saleh to the

robbery, there is a serious question regarding identification. Robert W illiams, the former

Town of Hamburg police detective who investigated the robbery, misidentified Saleh in

court. W hen asked to identify the man in court that Mikha had previously identified as

being one of the robbers, Detective W illiams incorrectly pointed out another defendant

as being the person identified by Mikha.5 Detective W illiams’ misidentification throws

into question Mikha’s out-of-court identification, which was already suspect because he

(Mikha) failed to pick out defendant Saleh from a photo array (he later identified Saleh

from an individual photo of Saleh).




                                       CONCLUSION

              For the reasons stated, the Court shall apply the following base offense

levels at the time of sentencing: (1) Mohamed Abuhamra, level 18; (2) Aref Ahmed,

level 18; (3) Rmzy Abdullah, level 14; (4) Nagib Aziz, level 10; and (5) Azzeaz Saleh,

level 10. The Court also grants the government’s request that a two-level upward

adjustment by applied to defendant Mohamed Abuhamra for use of a minor to commit

the offense. In addition, the Court grants the government’s motion for upward departure

with regard to defendant Nagib Aziz and shall depart upward seven levels. Finally, the

Court denies the government’s motion for an upward departure with regard to

defendant Azzeaz Saleh.



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              Mikha is now deceased.

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              Defendant Aref Ahmed shall be sentenced on July 26, 2005 at 12:30 p.m.

Defendant Mohamed Abuhamra shall be sentenced on July 27, 2005 at 12:30 p.m.

Defendant Rmzy Abdullah shall be sentenced on July 28, 2005 at 12:30 p.m.

Defendant Nagib Aziz shall be sentenced on August 3, 2005 at 12:30 p.m. Defendant

Azzeaz Saleh shall be sentenced on August 4, 2005 at 12:30 p.m.

              The “Statements of Parties with respect to Sentencing Factors,” including

any objections or motions, shall be filed by July 8, 2005. Responses to any objections

or motions shall be filed by July 15, 2005. The Final PSR’s shall be disseminated by

July 19, 2005. Any sentencing memoranda or letters in support of the defendants shall

be filed by July 20, 2005.

              IT IS SO ORDERED.

                                         /s/ Richard J. Arcara

                                         ______________________________
                                         HONORABLE RICHARD J. ARCARA
                                         CHIEF JUDGE
                                         UNITED STATES DISTRICT COURT

Dated: June 24 , 2005




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